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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION




UNITED STATES OF AMERICA

v.                                             CASE NO. 5:17cr32-RH

AMANDA GIOVANNI,

          Defendant.
__________________________________/


                       ORDER DENYING THE MOTION TO
                        SUPPRESS EMAIL MATERIALS


         The defendant Amanda Giovanni has moved to suppress materials seized

from her email account pursuant to a search warrant. The warrant did not include

protocols for conducting the search. Ms. Giovanni says the result was a

constitutionally prohibited general search. And she says officers seized material

beyond what the warrant authorized.

         This order confirms the ruling announced on the record of the suppression

hearing on May 16, 2018.

         The officers followed a reasonable protocol in conducting the search. The

protocol was not in the warrant, but this did not render the warrant defective. See

United States v. Khanani, 502 F.3d 1281, 1290 (11th Cir. 2007). And in any event,

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the warrant was not so plainly defective that officers could not rely on the warrant

in good faith. See United States v. Leon, 468 U.S. 897 (1984).

         The officers seized only material authorized by the warrant.

         For these reasons and those set out on the record of the hearing,

         IT IS ORDERED:

         The motion to suppress the materials seized from the email account, ECF

No. 78, is denied.

         SO ORDERED on June 25, 2018.

                                         s/Robert L. Hinkle
                                         United States District Judge




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